           Case 3:17-cv-00485-WHO           Document 238       Filed 02/07/25      Page 1 of 5




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11

12
                                    UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14

15
      CITY AND COUNTY OF SAN FRANCISCO,                   Case No. 3:17-cv-00485-WHO
16
             Plaintiff,
17                                                        ADMINISTRATIVE MOTION TO
             vs.                                          CONSIDER WHETHER CASES SHOULD
18                                                        BE RELATED
      DONALD J. TRUMP, President of the United
19    States, UNITED STATES OF AMERICA, JOHN
      F. KELLY, Secretary of United States
20    Department of Homeland Security, JEFFERSON
      B. SESSIONS III, Attorney General of the United
21    States, DOES 1-100,
22           Defendants.
23

24

25          Under Northern District of California Civil Local Rules 3-12 and 7-11, Party City and County

26   of San Francisco and Non-Party County of Santa Clara (collectively “Counties”) respectfully request

27   that the Court consider whether the action City and County of San Francisco v. Trump, No. 25-cv-1350

28   (N.D. Cal.) (“Action”), should be related to this case and already-related cases:
      ADMINISTRATIVE MOTION TO CONSIDER                    1                      CASE NO. 3:17-cv-00485-WHO
      WHETHER CASES SHOULD BE RELATED
           Case 3:17-cv-00485-WHO             Document 238         Filed 02/07/25       Page 2 of 5




 1          •   City and County of San Francisco v. Trump, No. 3:17-cv-00485-WHO (N.D. Cal.);

 2          •   County of Santa Clara v. Trump, No. 3:17-cv-00574-WHO (N.D. Cal.);

 3          •   City of Richmond Police Department v. Trump, No. 3:17-cv-01535-WHO (N.D. Cal.);

 4          •   City and County of San Francisco v. Sessions, No. 3:17-cv-04642-WHO (N.D. Cal.);

 5          •   State of California v. Sessions, No. 3:17-cv-04701-WHO (N.D. Cal.);

 6          •   City and County of San Francisco v. Sessions, No. 3:18-cv-05146-WHO (N.D. Cal.);

 7          •   State of California v. Sessions, No. 3:18-cv-05169-WHO (N.D. Cal.); and

 8          •   State of California v. Barr, No. 3:19-cv-06189-WHO (N.D. Cal.).

 9          This Court’s Local Rules provide that “[a]n action is related to another when: (1) [t]he actions

10   concern substantially the same parties, property, transaction, or event; and (2) [i]t appears likely that

11   there will be an unduly burdensome duplication of labor and expense or conflicting results if the cases

12   are conducted before different judges.” N.D. Cal. Civ. L.R. 3-12(a). Whenever a party knows or

13   learns that an action filed in this District is related to an action “which is or was pending in this

14   District,” the party “must” file in the lowest-numbered case an administrative motion to consider

15   whether cases should be related. N.D. Cal. Civ. L.R. 3-12(b) (emphasis added).

16          Relation is proper here because the Counties’ Action concerns “substantially the same parties,

17   property, transaction[s], or event[s]” as the eight already-related cases. See N.D. Cal. Civ. L.R. 3-

18   12(a). Like those cases, the Action challenges—on many of the same grounds and with many of the

19   same parties—the federal government’s attempts to condition, through Executive Branch action,

20   localities’ receipt of federal funds on their cooperation with federal civil immigration enforcement

21   priorities. The following table details the substantial similarities between the Action and those cases: 1

22     Already-Related Case                  Substantial Similarities to the Counties’ Action
23                                  • Same plaintiff: City and County of San Francisco
       City and County of San       • Same defendants: Donald Trump, the United States, the Attorney
24     Francisco v. Trump, No.        General, and the Secretary of the Department of Homeland Security
        3:17-cv-00485-WHO           • Substantially the same event: executive action threatening to
25           (N.D. Cal.)              withhold federal funding from “sanctuary” jurisdictions, including
26                                    President Trump’s Executive Order 13768
            1
27            For ease of reference, the complaint in the Action and the complaints in the already-related
     cases are attached as exhibits to the Declaration of Karun A. Tilak in Support of Administrative
28   Motion to Consider Whether Cases Should Be Related.
      ADMINISTRATIVE MOTION TO CONSIDER                     2                        CASE NO. 3:17-cv-00485-WHO
      WHETHER CASES SHOULD BE RELATED
         Case 3:17-cv-00485-WHO           Document 238       Filed 02/07/25     Page 3 of 5




      Already-Related Case                  Substantial Similarities to the Counties’ Action
 1
                                •   Same claims: constitutional violations—separation of powers, the
 2                                  Spending Clause, and the Tenth Amendment
                                •   Same plaintiff: County of Santa Clara
 3                              •   Same defendants: Donald Trump, the Attorney General, and the
                                    Secretary of the Department of Homeland Security
 4   County of Santa Clara v.
       Trump, No. 3:17-cv-      •   Substantially the same event: executive action threatening to
 5                                  withhold federal funding from “sanctuary” jurisdictions, including
     00574-WHO (N.D. Cal.)
                                    President Trump’s Executive Order 13768
 6                              •   Same claims: constitutional violations—separation of powers and
                                    the Fifth Amendment
 7
                                •   Same defendants: Donald Trump, the United States, the Attorney
 8                                  General, and the Secretary of the Department of Homeland Security
     City of Richmond Police
                                •   Substantially the same event: executive action threatening to
      Department v. Trump,
 9                                  withhold federal funding from “sanctuary” jurisdictions, including
       No. 3:17-cv-01535-
                                    President Trump’s Executive Order 13768
10      WHO (N.D. Cal.)
                                •   Same claims: constitutional violations—separation of powers, the
11                                  Spending Clause, the Fifth Amendment, and the Tenth Amendment
                                •   Same plaintiff: City and County of San Francisco
12                              •   Same defendants: the Attorney General and the Department of
                                    Justice
13    City and County of San    •   Substantially the same event: executive action threatening to
      Francisco v. Sessions,        withhold federal funding from “sanctuary” jurisdictions, including
14
       No. 3:17-cv-04642-           unlawful conditions on grant funding from the Department of
15       WHO (N.D. Cal.)            Justice relating to compliance with 8 U.S.C. section 1373
                                •   Same claims: constitutional violations—separation of powers and
16                                  the Spending Clause—and violations of the Administrative
                                    Procedure Act
17
                                •   Same defendants: the Attorney General and the Department of
18                                  Justice
                                •   Substantially the same event: executive action threatening to
19     State of California v.       withhold federal funding from “sanctuary” jurisdictions, including
      Sessions, No. 3:17-cv-        unlawful conditions on grant funding from the Department of
20   04701-WHO (N.D. Cal.)          Justice relating to compliance with 8 U.S.C. section 1373
21                              •   Same claims: constitutional violations—separation of powers and
                                    the Spending Clause—and violations of the Administrative
22                                  Procedure Act
                                •   Same plaintiff: City and County of San Francisco
23                              •   Same defendants: the Attorney General and the Department of
24                                  Justice
      City and County of San
                                •   Substantially the same event: executive action threatening to
      Francisco v. Sessions,
25                                  withhold federal funding from “sanctuary” jurisdictions, including
       No. 3:18-cv-05146-
                                    unlawful conditions on grant funding from the Department of
26       WHO (N.D. Cal.)
                                    Justice relating to compliance with 8 U.S.C. section 1373
27                              •   Same claims: constitutional violations—separation of powers and
                                    the Spending Clause
28
     ADMINISTRATIVE MOTION TO CONSIDER                3                       CASE NO. 3:17-cv-00485-WHO
     WHETHER CASES SHOULD BE RELATED
           Case 3:17-cv-00485-WHO             Document 238       Filed 02/07/25      Page 4 of 5




       Already-Related Case                     Substantial Similarities to the Counties’ Action
 1
                                    •   Same defendants: the Attorney General and the Department of
 2                                      Justice
                                    •   Substantially the same event: executive action threatening to
 3      State of California v.          withhold federal funding from “sanctuary” jurisdictions, including
       Sessions, No. 3:18-cv-           unlawful conditions on grant funding from the Department of
 4    05169-WHO (N.D. Cal.)             Justice relating to compliance with 8 U.S.C. section 1373
 5                                  •   Same claims: constitutional violations—separation of powers, the
                                        Spending Clause, and the Tenth Amendment—and violations of the
 6                                      Administrative Procedure Act
                                    •   Same defendants: the Attorney General and the Department of
 7                                      Justice
 8                                  •   Substantially the same event: executive action threatening to
        State of California v.          withhold federal funding from “sanctuary” jurisdictions, including
 9       Barr, No. 3:19-cv-             unlawful conditions on grant funding from the Department of
      06189-WHO (N.D. Cal.)             Justice relating to compliance with 8 U.S.C. section 1373
10                                  •   Same claims: constitutional violations—separation of powers and
                                        the Spending Clause—and violations of the Administrative
11
                                        Procedure Act
12

13   The table above reflects that the Counties’ action and the already-related cases concern “substantially
14   the same parties, property, transaction[s], or event[s].” See N.D. Cal. Civ. L.R. 3-12(a). Relation is
15   therefore proper here.
16          Relation is also proper because “[i]t appears likely that there will be an unduly burdensome
17   duplication of labor and expense or conflicting results if the cases are conducted before different
18   Judges.” See N.D. Cal. Civ. L.R. 3-12(a). In eight cases that together spanned four years, this Court
19   reviewed and opined on much of the same factual background, legal and constitutional issues, and
20   claims that now arise again in the Counties’ Action. There is no benefit to requiring that another court
21   take on from scratch an exercise this Court has repeatedly conducted and develop the expertise this
22   Court already has amassed.
23          The Counties are prepared to maximize efficiency by coordinating with counsel, following any
24   orders issued by this Court in the already-related cases, and following any other orders that may be
25   entered before the Court acts on this motion. As explained in the accompanying Declaration of Karun
26   A. Tilak, the Counties have not obtained a stipulation because they are filing this motion concurrent
27   with their filing of the complaint.
28
      ADMINISTRATIVE MOTION TO CONSIDER                    4                      CASE NO. 3:17-cv-00485-WHO
      WHETHER CASES SHOULD BE RELATED
           Case 3:17-cv-00485-WHO             Document 238         Filed 02/07/25      Page 5 of 5




 1          For the foregoing reasons, the Counties respectfully request that this Court order their Action

 2   related to the eight actions identified above.

 3

 4   Dated: February 7, 2025
 5
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22                                             By: /s/Tony LoPresti
                                                   TONY LOPRESTI
23                                                 County Counsel

24                                                    Attorneys for COUNTY OF SANTA CLARA

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28
      ADMINISTRATIVE MOTION TO CONSIDER                      5                      CASE NO. 3:17-cv-00485-WHO
      WHETHER CASES SHOULD BE RELATED
